    Case 1:08-cr-00069-WMS-HKS                  Document 214          Filed 12/30/09        Page 1 of 5




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

        v.                                                                    DECISION AND ORDER
                                                                                  08-CR-69S-11

DION D. KNIGHT,

                         Defendant.



        1.       Presently before this Court is Defendant Dion D. Knight’s “Second Motion to

Suppress” electronic evidence seized pursuant to a wiretap authorized by the Honorable

John T. Ward, Acting New York State Supreme Court Judge. (Docket No. 189.)1

        2.       Knight is charged, along with ten co-defendants, in a multi-count Superseding

Indictment, with having violated Title 21 United States Code Sections 841(a)(1),

841(b)(1)(A) and 841(b)(1)(B); all in violation of Title 21, United States Code, Section 846.

(Docket No. 66.)

        3.       On January 30, 2008, Judge Ward issued a warrant authorizing the

interception of telephonic and electronic communications, including text messaging, over

a telephone device bearing the number (716) 485-6360 used by Quentin J. Leeper and

subscribed to by Glenda Garland, based upon the affidavit of Chautauqua County Sheriff’s

Department Lieutenant John W. Runkle. The warrant became effective on February 4,


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            Knight refers to the instant m otion to suppress, which he has filed through his attorney, Thom as
C. Farley, Jr., Esq., as the “second” m otion because he m aintains that he previously filed and subm itted
the m otion to the Honorable H. Kenneth Schroeder, Jr., United States Magistrate Judge. Although the
“first” m otion is dated and notarized Decem ber 13, 2008, this Court notes that it was never filed or
considered by Judge Schroeder, and was drafted pro se, despite the fact that Knight was represented by
counsel at the tim e.

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   Case 1:08-cr-00069-WMS-HKS                  Document 214   Filed 12/30/09   Page 2 of 5




2008, and expired on March 4, 2008. On March 18, 2008, Judge Ward issued a Sealing

Order, directing that the communications intercepted pursuant to the warrant be sealed

and maintained in the Chautauqua County Courthouse located in Mayville, New York.

       4.       In the instant motion, Knight argues that all evidence seized pursuant to the

warrant must be suppressed because Judge Ward did not issue a Sealing Order until

March 18, 2008, or 14 days after the warrant expired. (Docket No. 189, Ex. 2.) Knight

further contends that “[he] believe[s] that the recordings [] have been tampered with.”

(Docket No. 189, Ex. 2). Thus, by not immediately sealing the recordings, Knight argues

that the Government has not complied with 18 U.S.C. § 2518(8)(a) and New York’s

Criminal Procedure Law § 700.50. (Docket No. 189, Exs. 1 and 2.)

       5.       After Knight filed the motion, this Court issued a Scheduling Order directing

the Government to submit a response by December 18, 2009. (Docket No. 201.) The

Order stated that the Court would take the motion under advisement without a reply from

Knight. (Docket No. 201.)2

       6.       In its response, the Government argued that Knight’s motion should be

denied as untimely. (Docket No. 204.) Relying on the motions’ alleged untimeliness, the

Government did not attempt to explain the reason for the 14-day delay between the

warrant’s expiration and the sealing order. As a result, this Court directed the Government

to supplement its response and provide such an explanation. On December 23, 2009,

Assistant United States Attorney, Thomas Duszkiewicz, submitted an affidavit detailing the

reasons for the delay. (Docket No. 208, Duszkiewicz Aff.)



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          Trial is presently scheduled for January 5, 2010.

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   Case 1:08-cr-00069-WMS-HKS          Document 214      Filed 12/30/09    Page 3 of 5




       7.     Title 18 United States Code Section 2518(8)(a) requires the government to

make any intercepted conversations immediately available to the judge who authorized the

wiretap for sealing upon the expiration of the period of the order. United States v. Gangi,

33 F. Supp. 2d 303, 310 (S.D.N.Y. 1999).          Similarly, New York law requires that

“[i]mmediately upon the expiration of the period of an eavesdropping warrant, the

recordings of communications [] must be made available to the issuing justice and sealed

under his directions.” N.Y. C.P.L. § 700.50(2).

       The government meets the requirements of the federal and state statutes if the

recordings are sealed within one or two days of the conclusion of the electronic

surveillance. See, e.g., United States v. Massino, 784 F. 2d 153, 156 (2d Cir. 1986);

People v. Winograd, 68 N.Y.2d 383, 394, 502 N.E.2d 189 (1986).

       When the sealing is not done immediately pursuant to both federal and state

statutes, the government must provide a satisfactory explanation for the delay. See, e.g.,

Massino, 784 F.2d at 156; People v. Basilicato, 64 N.Y.2d 103, 116, 474 N.E.2d 215

(1984). In Rodriguez, the Second Circuit discussed three factors, which, if present,

constitute a satisfactory explanation by the government:

       In most cases when (1) the government has advanced reasons for the delay,
       such as the need to perform administrative tasks relating to the tapes prior
       to sealing, (2) there is no basis for inferring that the government sought by
       means of the delay to gain a tactical advantage over the defendant or that
       it had any other improper motive, and (3) there has been no showing that
       there has been tampering with the tapes or that the defendant has suffered
       any other prejudice as a result of the delay, the government's explanation
       has been accepted as satisfactory.

Id., 786 F.2d at 477.

       8.     In the present case, the Government explains that certain administrative


                                            3
   Case 1:08-cr-00069-WMS-HKS           Document 214      Filed 12/30/09     Page 4 of 5




tasks caused the delay. For instance, the Government states that, on March 6, 2008, Lt.

John W. Runkle provided a progress report to Judge Ward. (Duszkiewicz Aff. ¶ 5.) In the

progress report, Runkle indicated that it would “take some time” to deliver the “master

recordings” from the Drug Enforcement Agency’s (“DEA”) office in New York City, the

recordings’ location at that time, to Judge Ward’s chambers in Mayville, New York.

(Duszkiewicz Aff. ¶ 5.) The same day, March 6, 2008, DEA Technical Agent, Anthony

Longarzo, contacted the DEA office in New York City and directed that the recordings be

shipped via Fed Ex to the DEA office in Buffalo, New York, “attention Task Force Agent,

James Rensel.” (Duszkiewicz Aff. ¶ 6.) Because the New York City office requires that a

“Special Agent” from their office “eject the [recordings] from the New York City system,” the

recordings were not ejected until March 10, 2008 by a designated agent from the New York

City office who then sent them, via Fed Ex, to Rensel in the Buffalo office. (Duszkiewicz

Aff. ¶ 6.) Rensel, however, “had additional duties outside the DEA Buffalo office [] on

March 11, 12, & 13, 2008.” (Duszkiewicz Aff. ¶ 6.) Therefore, Rensel first opened the Fed

Ex package on March 14, 2008, at which time he contacted Judge Ward’s chambers and

obtained an appointment for March 17, 2008. (Duszkiewicz Aff. ¶ 6.) On March 17, 2008,

Rensel delivered the recordings to Judge Ward’s chambers, and the following day, March

18, 2008, Judge Ward issued the Sealing Order. (Duszkiewicz Aff. ¶ 7.) Thus, the delay

in this case was the product of pre-sealing administrative tasks and Rensel’s three-day

unavailability.

       9.     With respect to the second and third factors mentioned in Rodriguez, there

is no basis for inferring that the Government sought by means of the delay to gain a tactical

advantage over the defendants, nor is there any evidence of tampering whatsoever.

                                             4
   Case 1:08-cr-00069-WMS-HKS         Document 214     Filed 12/30/09    Page 5 of 5




Moreover, courts in this Circuit have denied motions to suppress where the delays have

exceeded 14 days, the delay at issue here. See, e.g., United States v. Massino, 784 F.2d

153 (2d Cir. 1986) (government provided satisfactory explanation for 15-day delay in

sealing tapes); United States v. Caruso, 415 F. Supp. 847 (S.D.N.Y. 1976) (tapes not

suppressed despite 24 and 42-day delays).

      11.    Thus, in light of the foregoing, this Court finds that the Government has

advanced a satisfactory explanation for the 14-day delay. Accordingly, Defendant Dion D.

Knight’s “Second Motion to Suppress” is denied.



      IT IS HEREBY ORDERED, that Defendant Dion D. Knight’s Second Motion to

Suppress (Docket No. 189) is DENIED.

      SO ORDERED.

Dated: December 30, 2009
       Buffalo, NY
                                                            /s/William M. Skretny
                                                           WILLIAM M. SKRETNY
                                                         United States District Judge




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